         Case 1:16-cr-00053-SPW Document 178 Filed 10/24/17 Page 1 of 1




                                                                            FILED
                   IN THE UNITED STATES DISTRICT COURT                        OCT 2 1, 2017
                       FOR THE DISTRICT OF MONTANA                         Clerk, U.S. District Court
                             BILLINGS DIVISION                               District Of Montana
                                                                                    Billings




  UNITED STATES OF AMERICA,
                                                      CR 16-53-BLG-SPW-2
                        Plaintiff,

  vs.                                                  ORDER

  ALFONSO BANDERAS-MARTINEZ,

                        Defendant.

        Upon the Court' s Own Motion,

        IT IS HEREBY ORDERED that Sentencing currently scheduled for

Thursday, October 26, 2017 at 2:30 p.m. is VACATED and RESET to commence on

Thursday, November 2, 2017 at 1:30 p.m., in the James F. Battin U.S. Courthouse,

Billings, Montana.

        The Clerk shall forthwith notify counsel and the U.S. Marshals Service of the

making of this Order.



        DATEDthis _d.!L_ ~      ofOctober,20~17 .

                                                               .r(J~ /
                                               . SOSANP.WAI'TERS
                                                 U.S. DISTRICT JUDGE

                                           1
